                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                   3:97cr22-9

IVEY WALKER,                                          )
                                                      )
                       Petitioner,                    )
                                                      )
Vs.                                                   )              ORDER
                                                      )
UNITED STATES OF AMERICA,                             )
                                                      )
                  Respondent.                         )
_______________________________                       )

       THIS MATTER is before the court on petitioner’s “Motion in Response to the

Government’s Show Cause Motion to Petitioner’s § 3582(c)(2) Request for Reduction in Sentence”

(#567). On June 27, 2012, this court denied petitioner’s Motion for Sentence Reduction Pursuant

to 18 U.S.C. § 3582(c)(2) (#559), explaining that “[t]he application of Amendment 750 provides no

change in the guideline range in this case since application of the provisions in Amendment 706.”

Order (#564). Although Amendment 750 reduced the offense level by one, the guideline range

remained the same as the amended range which followed application of Amendment 706.

       In the present motion, petitioner appears to attack the constitutionality of Amendment 750,

an issue which was not raised in his Motion for Sentence Reduction Pursuant to 18 U.S.C. §

3582(c)(2) (#559). Even if he had raised that issue, constitutional issues cannot be presented or

addressed in a § 3582(c)(2) motion. United States v. Martin, 367 F. App'x 584, 585 (6th Cir.2010);

United States v. Bravo, 203 F.3d 778 (11th Cir. 2000). Simply put, a constitutional or other

challenge cannot be considered “[b]ecause § 3582(c)(2) proceedings give judges no more than . ..

circumscribed discretion . . . .” Dillon v. United States, ___ U.S. ___, 130 S.Ct. 2683, 2692 (2010).
                                             ORDER

       IT IS, THEREFORE, ORDERED that petitioner's "Motion in Response to the

Government's Show Cause Motion to Petitioner's § 3582(c)(2) Request for Reduction in Sentence"

(#567) is DENIED as non-justiciable.

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                               Signed: July 5, 2012




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